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                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                           )
                                                    )
v.                                                  )
                                                    )        Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                              )
                                                    )
                  Defendant.                        )


    DEFENDANT PAUL J. MANAFORT, JR.’S MOTION TO SUPRESS EVIDENCE AND
    THE FRUITS THEREOF RELATING TO THE GOVERNMENT’S SEARCH OF HIS
               RESIDENCE LOCATED IN ALEXANDRIA, VIRGINIA
          Defendant Paul J. Manafort, Jr., by and through counsel, hereby moves the Court pursuant

to Rules 12(b)(3)(C) and 41(h) of the Federal Rules of Criminal Procedure to suppress evidence

obtained by the government pursuant to a search warrant (the “Search Warrant”)1 issued by a

magistrate judge in the Eastern District of Virginia on July 25, 2017, for his residence located in

Alexandria, Virginia (the “Manafort Home”) because 1) the Search Warrant was an overbroad

general warrant in violation of Mr. Manafort’s Fourth Amendment rights; (2) the agents who

executed the search exceeded the Search Warrant’s parameters in violation of the Fourth

Amendment; and 3) the Special Counsel did not have the authority or jurisdiction to apply for the

Search Warrant;2 and 4) the government has improperly retained everything it seized from the

                                                            
1
   A redacted copy of the Search Warrant is annexed hereto as Exhibit A.
 
2
    See Defendant Manafort’s Motion to Dismiss (Dkt. No. 235). As the Supreme Court has recognized,

          where the officer’s powers are limited by statute, his actions beyond those limitations are
          considered individual and not sovereign actions. The officer is not doing the business
          which the sovereign has empowered him to do or he is doing it in a way which the sovereign
          has forbidden. His actions are ultra vires his authority and therefore may be made the object
          of specific relief.

Larson v. Domestic & Foreign Commerce Corp., 337 U.S. 682, 689 (1949).


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Manafort Home for nearly nine months and has failed to return all non-responsive material seized

to Mr. Manafort.

    I.      DISCUSSION

         On the morning of July 26, 2017, agents entered the Manafort’s home located in a

condominium building. Once inside, the agents seized or imaged every electronic device and

storage device in the home.

            a. The Search Warrant was unconstitutionally overbroad

         The Search Warrant was fatally overbroad because it allowed the searching agents to

indiscriminately seize records, emails, photographs and electronic devices from the Manafort

Home. The Fourth Amendment does not permit the warrant that was issued in this case, which

was essentially a general warrant for “any and all” financial documents and electronic devices.

Rather, the Fourth Amendment requires that search warrants “‘particularly describ[e] the place to

be searched, and the persons or things to be seized,” which operates to “prevent[ ] the seizure of

one thing under a warrant describing another.’” Jones v. Kirchner, 835 F.3d 74, 79 (D.C. Cir.

2016) (quoting Marron v. United States, 275 U.S. 192, 195–96 (1927)).

         The Search Warrant here fell short of the constitutional requirements set out above. For

offenses occurring on or after January 1, 2006,3 the Search Warrant directed the seizure of, inter

alia, “[a]ny and all financial records for Paul Manafort, Jr., Kathleen Manafort, Richard Gates, or

companies associated with Paul Manafort, Jr., Kathleen Manafort, or Richard Gates”, (see Search

Warrant, Attachment B, ¶ 1a.), “[e]vidence indicating Manafort’s state of mind as it relates to the

crimes under Investigation” (id. ¶ 1i.), and “[c]omputers or storage media used as a means to

commit the Subject Offenses,” (id. ¶ 2.).


                                                            
3
   This crucial temporal limitation was missing from the search warrant for the storage unit.

                                                     2 
 
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        A search warrant for “any and all financial records” of everyone residing at the subject

location is exceptionally broad; indeed, nothing in the affidavit justifies so broad a warrant. And

a warrant directing agents to seize all evidence of the subject’s “state of mind” does not restrict

the agent’s discretion at all. Indeed, the warrant may just as well have told agents to search for

and seize any evidence that the subject committed the subject offenses – all of which require

knowledge and intent. While seizing agents naturally look for evidence of the subject’s guilt, the

role of the warrant is to limit their discretion to determine what constitutes such evidence. This

warrant did no such thing. Finally, the warrant allowed the agents to search for and seize any

“computers or storage media” that may have been used in the “subject offenses,” but it did not

limit the agents’ discretion in determining what computers or what storage media fit that

description.

        Recently, the D.C. Circuit Court of Appeals found wanting a similar warrant authorizing

the seizure of all electronic devices. In United States v. Griffith, 867 F.3d 1265 (D.C. Cir. 2017),

the appellate court invalidated a search and seizure warrant that “authorized the wholesale seizure

of all electronic devices discovered in the apartment, including items owned by third parties.” Id.

at 1270-71. In this case, the warrant authorized such a seizure.

        Nor can the affidavit submitted by the FBI in support of the search warrant application (the

“FBI Affidavit”)4 save this defective warrant. The Supreme Court has made clear that the Fourth

Amendment’s particularity requirements must be satisfied “in the warrant, not in the supporting

documents.” Groh v. Ramirez, 540 U.S. 551, 557 (2004) (emphasis added). A court may only

“construe a warrant with reference to a supporting application or affidavit if the warrant uses

appropriate words of incorporation, and if the supporting document accompanies the warrant.” Id.


                                                            
4
   A redacted copy of the FBI Affidavit is annexed hereto as Exhibit B.

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at 557–58. The D.C. Circuit has recently explained that it will “read warrants by reference to an

affidavit, [but], only if the issuing judge uses explicit words on the warrant indicating an intention

to incorporate the affidavit’s contents and thereby limit [the warrant’s] scope.” Griffith, 867 F.3d

1265 at 1277. Here, the Search Warrant did not incorporate the FBI Affidavit.

            b. The FBI Affidavit failed to establish probable cause that the electronic devices
               had any connection to the subject offenses and would be found in the Manafort
               Home.

       As in Griffith, the search warrant affidavit in this case goes on at length about evidence of

the subject’s purported involvement in the offenses. That exposition, however, is directed at

establishing why there is reason to be believe that an offense was committed and that the subject

was the one who committed it. Importantly, an affidavit must also establish a reason to believe

that the evidence sought will be found in the place to be searched. “Regardless of whether an

individual is validly suspected of committing a crime, an application for a search warrant

concerning his property or possessions must demonstrate cause to believe that evidence is likely

to be found at the place to be searched.” Griffith, 867 F.3d at 1271 (internal quotation marks

omitted).

       An affidavit setting forth reasons to believe that an individual may have committed an

offense, without more, is the proper basis of an arrest warrant—not a search warrant:

       The Supreme Court has long distinguished between arrest warrants and search
       warrants. An arrest warrant rests on probable cause to believe that the suspect
       committed an offense; it thus primarily serves to protect an individual’s liberty
       interest against an unreasonable seizure of his person. A search warrant, by contrast,
       is grounded in probable cause to believe that the legitimate object of a search is
       located in a particular place. Rather than protect an individual’s person, a search
       warrant safeguards an individual’s interest in the privacy of his home and
       possessions against the unjustified intrusion of the police.

Griffith, 867 F.3d at 1271 (internal citations and quotation marks omitted).




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        In this case, the affidavit does not establish probable cause to believe that the electronic

devices purportedly used in the commission of the subject offenses are likely to be found in the

Manafort Home:

       One form in which the records might be found is data stored on a computer’s hard drive or
        other storage media. (Search Warrant Affidavit ¶ 75 (footnote omitted).)

       In a July 2017 interview, [redacted] advised the FBI that there is a Mac desktop computer
        on the desk in the office at the Subject Premises, which is used by Manafort. (Id. ¶ 76.)

       For a variety of reasons, copies of historical records and current records are also frequently
        stored on external hard drives, thumb drives, and magnetic disks. There is reasonable cause
        to believe such media may be contained in and among records of Manafort’s business and
        financial activity at the Subject Premises. FBI interviews of [redacted] further confirm that
        Manafort has made widespread use of electronic media in the course of his business
        activity. (Id.)

       For example, [redacted] told the FBI that Manafort had a drawer full of phones and
        electronic equipment at his old residence in Mount Vernon Square. At one point, Manafort
        gave [redacted] a bag of computers and directed [redacted] to have the drives wiped before
        giving them to charity. Manafort also gave [redacted] several additional devices, both
        laptops and cellular phones. (Id.)

        Far from establishing that electronic devices purportedly used to commit the subject

offenses are likely to be found in the Manafort Home, the affidavit offers the issuing magistrate

nothing more than an affirmation that 1) generally speaking, computer hard drives and external

storage media contain data; 2) there is an Apple McIntosh computer in the residence that Mr.

Manafort uses for some purpose; 3) data is commonly stored on electronic media and Mr. Manafort

has used electronic media in his business; and 4) at his previous residence, Mr. Manafort had what

amounts to a junk drawer where he kept his old phones and other electronic devices before

donating them to charity. These statements are an assortment of truisms; this recitation does not

begin to establish “a nexus . . . between the item to be seized and criminal behavior.” Griffith, 867

F.3d at 1271.



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       The affidavit is so lacking in probable cause to believe that electronic devices used in the

alleged commission of the subject offenses would be found in the Manafort Home that no

reasonable agent could have relied on it. Indeed, the Griffith court summed up the analysis as

follows:

       As the Court explained in Leon, the good-faith exception does not apply if a warrant
       is based on an affidavit so lacking in indicia of probable cause as to render official
       belief in its existence entirely unreasonable. When applying that standard, we
       consider the objective reasonableness not only of the officers who eventually
       executed the warrant, but also of the officers who originally obtained it or who
       provided information material to the probable-cause determination. We thus ask
       whether an objectively reasonable officer could think the affidavit established
       probable cause, keeping in mind the inadequacy of a bare bones affidavit.

Griffith, 867 F.3d at 1278 (internal citations and quotation marks omitted) (emphasis added). No

reasonable agent could have believed that his affidavit established probable cause, and no

executing agent could have believed it either. For this reason, the electronic evidence seized from

the Manafort Home must be suppressed.

            c. The executing agents improperly seized materials beyond the warrant’s scope

       Even where the particularity requirement is satisfied – and here it was not – “the search

itself must be conducted in a reasonable manner, appropriately limited to the scope and intensity

called for by the warrant.” United States v. Heldt, 668 F.2d 1238, 1256 (D.C. Cir. 1981) (citation

and footnotes omitted). As the court in Heldt further explained:

               When investigators fail to limit themselves to the particulars in the
               warrant, both the particularity requirement and the probable cause
               requirement are drained of all significance as restraining
               mechanisms, and the warrant limitation becomes a practical nullity.
               Obedience to the particularity requirement both in drafting and
               executing a search warrant is therefore essential to protect against
               the centuries-old fear of general searches and seizures.

Id. at 1257. In light of these principals, “the Fourth Amendment confines an officer executing a

search warrant strictly within the bounds set by the warrant[.]” Id. at 1260 (quoting Bivens v. Six

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Unknown Named Agents, 403 U.S. 388, 394 n.7 (1971)). Therefore, “in general, only items

particularly mentioned in the warrant may be seized.” Id. at 1268 (collecting cases).

       The agents that executed the Search Warrant in this case ran afoul of the above principles

and seized every electronic and media device in the Manafort Home. For example, the search

warrant inventory of electronic devices seized or imaged includes things such as an Apple iPod

music device and some Apple iPod Touch music and video devices. No agent could have

reasonably believed that he was seizing electronic devices used in the commission of the subject

offenses.

            d. The government’s nearly nine-month retention of every item it seized
               constitutes an unreasonable search and seizure in violation of Mr. Manafort’s
               Fourth Amendment rights

       The FBI searched the Manafort Home more than eight months ago.               To date, the

government has not represented that the materials seized were subject to any process or procedure

to insure the government only retained materials within the scope of the search warrant. The

government has only represented that the materials have been subject to a privilege review. The

government is required to review seized materials and “identify and return those materials not

covered by the warrant.” United States v. Soliman, 2008 WL 4757300, at *8 (W.D.N.Y. Oct. 29,

2008); see also United States v. Tamura, 694 F.2d 591, 597-98 (9th Cir. 1982) (holding the

government’s retention of material outside the scope of the warrant was an “unconstitutional

manner of executing the warrant”); United States v. Comprehensive Drug Testing, Inc., 621 F.3d

1162, 1171 (9th Cir. 2010) (finding the government may only retain material seized from

electronic systems if it was specified in the search warrant); Doane v. United States, 2009 WL

1619642, at *10 (S.D.N.Y. June 5, 2009) (“[P]ermitting the Government to retain items outside




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the scope of the warrant . . . would dramatically dilute the right to privacy in one’s personal

papers.”).

       The first indictment in this matter was returned over five months ago, yet the government

has made no indication that all of the materials seized have been reviewed for responsive

documents and data. Moreover, the government has not identified materials that were seized even

though they were outside the scope of the Search Warrant. As one court has explained, this alone

violates the requirements of the Fourth Amendment. See United States v. Metter, 860 F. Supp. 2d

205 (E.D.N.Y. 2012). In Metter, the court granted the defendant’s motion to suppress in light of

the government’s failure to identify seized documents responsive to a search warrant despite

having fifteen months following the search to do so. Id. at 215. The court observed that “[t]he

government’s retention of all imaged electronic documents, including personal emails, without

any review whatsoever to determine not only their relevance to this case, but also to determine

whether any recognized legal privileges attached to them, is unreasonable and disturbing.”) Id.

(emphasis in original). See also United States v. Debbi, 244 F. Supp. 2d 235, 238 (S.D.N.Y.

2003) (failure to review search material for eight months violated the Fourth Amendment). As

individuals and businesses become ever more reliant on computers and other electronic devices,

federal courts have become increasingly concerned that the government’s ability to seize entire

hard drives for off-site examinations not “become a vehicle” for plainly unconstitutional “general”

searches. Comprehensive Drug Testing, Inc., 621 F.3d at 1177; see also United States v. Wey, 256

F. Supp. 3d 355, 406-07 (S.D.N.Y. 2017) (granting motion to suppress). 

       Even if the government had completed its review of the materials seized within a

reasonable time period in this case – which it has not – courts require that, once the government

completes its review, it must return all non-responsive information which “it ha[d] no probable



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cause to collect” in the first place. See, e.g., Comprehensive Drug Testing, 621 F.3d at 1177; see

also Tamura, 694 F.2d at 596-97 (retention of “documents not described in the warrant … for at

least six months after locating the relevant documents” was “an unreasonable and therefore

unconstitutional manner of executing the warrant”). Without this requirement, the government’s

practice of over-seizing documents for offsite review would lead to the indefinite retention of all

hard copy documents and electronically-stored material, a clear violation of the Fourth

Amendment. See, e.g., Comprehensive Drug Testing, 621 F.3d at 1176; Metter, 860 F. Supp. 2d

at 216 (“[T]he Fourth Amendment would lose all force and meaning in the digital era and citizens

will have no recourse as to the unlawful seizure of information that falls outside the scope of a

search warrant and its subsequent dissemination.”).  

       In United States v. Debbi, the government obtained search warrants permitting seizure of

items related to allegations of obstruction of justice and health care fraud. 244 F. Supp.2d at

236. Pursuant to those warrants, federal agents seized electronic and paper files, financial

documents, and patient reports. Thereafter, the government failed to take any steps to separate

seized documents that fell within the scope of the warrants from those clearly outside the scope. Id.

at 237. The Debbi court found that the government “felt free to invade [the defendant’s] home,

seize his records without meaningful limitation and restraint, pick over them for months thereafter

without determining which were actually evidence of the alleged crimes, and even now refrain

from returning what it was never entitled to seize.” Id. at 238. Thus, the court suppressed all

seized materials that the government had not yet determined to be within the scope of the

warrants. Id.

       The result should be no different here, where the government executed the Search Warrant

nearly nine months ago and, to date, the defense has no reason to believe that the material seized



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from the Manafort Home has even been fully reviewed and where no material deemed

unresponsive to the Search Warrant has been returned to Mr. Manafort. 

       Wherefore, Mr. Manafort respectfully moves the Court to suppress all evidence and fruits

thereof relating to the government’s search of the Manafort Home on the grounds stated herein.

Dated: April 9, 2018                                Respectfully submitted,


                                                    __/s/____________________________
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )
                                           )      Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                     )
                                           )      Judge Amy Berman Jackson
              Defendant.                   )



                                    [Proposed] ORDER
       Upon consideration of Defendant Paul J. Manafort, Jr.’s motion pursuant to Rule

12(b)(3)(C) and Rule 41(h) of the Federal Rules of Criminal Procedure to suppress evidence and

all fruits thereof relating to the government’s search of his residence located in Alexandria,

Virginia (the “Premises”), and any opposition and reply thereto, it is hereby ORDERED that the

motion is GRANTED and it is hereby FURTHER ORDERED that all evidence seized from the

Premises is hereby SUPPRESSED.

       SO ORDERED.


Dated: ____________________                              __________________________
                                                         AMY BERMAN JACKSON
                                                         United States District Judge
